Form ncloseff


                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    Case No. 3:20−bk−03559
                                                     Chapter 13

    In re:

       JAMES WHITFIELD LIVINGSTON
       PO BOX 91047
       Nashville, TN 37209
       Social Security No.:
       xxx−xx−2895


                                 BILL OF COSTS
                    AND NOTICE OF POTENTIAL CLOSURE OF CASE
                WITHOUT DISCHARGE FOR FAILURE TO PAY FILING FEES


    To the Debtor(s):

    You are receiving this notice and bill of costs because the filing fees for filing your bankruptcy case have not
    been paid in full.


     JAMES WHITFIELD LIVINGSTON

     COSTS DUE of $ 310.00.

     8 − Order Granting Application to Pay Filing Fees in Installments. Filing fee requested to pay in
     installments is $310.00 (RE: Ref Doc #4), BY THE COURT: Judge Marian F. Harrison (ko)



     Payments must be made by cashier's check, money order or cash. If making a cash payment, DO NOT
     MAIL CASH. Cash payments must be made at the Clerk's Office in person. If mailing a cashier's check or
     money order make payable and mail to:


                                       CLERK, U.S. BANKRUPTCY COURT
                                          701 BROADWAY, ROOM 170
                                             NASHVILLE, TN 37203



    If the amount referenced above is not paid within 30 days of the date of this notice, your case will be closed
    without you receiving a discharge. To prevent paying a fee to reopen your case in order for a discharge to be
    issued, please timely pay the filing fee.

    Dated: 12/1/20                                                      /s/ TERESA C. AZAN
                                                                        Clerk, U.S. Bankruptcy Court




      Case 3:20-bk-03559          Doc 53 Filed 12/01/20 Entered 12/01/20 10:51:10                      Desc Bill
                                  of Costs and Close Case W Page 1 of 1
